                  EXHIBIT
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                     EGl/CLIFFS SETTLEMENT AGREEMENT
       This SETTLEMENT AGREEMENT (the "Agreement") is made and entered
into as of this 31st day of August 2017, by and among East Greenfield Investors,
LLC, an illinois limited liability company ("EGr'); Cliffs Mining Company, a
Delaware corporation ("Cliffs" and with EGI, the "Parties"), and only to the extent
of the provisions of sections 6.1 and 6.2 below, Chicago Title Insurance Company, a
Missouri corpo1·ation ("Chicago Title).
                                   RECITALS
       WHEREAS, on June 29, 2015, Lawrence Fromelius (individually and as
trustee of the Lawrence D. Fromelius Trust dated 12/22/1995, ")("Larry") filed a
petition for relief under chapte1· 11 of title 11 of the United States Code (the
"Bankruptcy Code") (Case Number 15-22373, pending in the United States
Bankruptcy Court for the Northern District of Illinois (the "Bankruptcy Court")
(the "Larry Case") and pursuant to sections 1107 and 1108 of the Bankruptcy
Code, Larry remains in possession of his assets and is ope1·ating as a debtor in
possession.
       WHEREAS, on July 2, 2015, L. Fromelius Investment Properties, LLC, an
Illinois limited liability company ("Fromelius LLC'), filed a petition for relief
under Chapter 11 of the Bankruptcy Code (Case Number 15-22943 pending in the
Bankruptcy Court, the "Fromelius LLC Case"), and pursuant to sections 1107 and
1108 of the Bankruptcy Code, Fromelius LLC remains in possession of its assets
and is operating as a debtor in possession.
      WHEREAS, on February 5, 2016, Golden Marina Causeway, LLC, a Wisconsin
limited liability company ("Golden Marina" and, along with Larry and Fromelius
LLC, the "Debtors"), filed a petition fo1· relief under chapter 11 of the Bankruptcy
Code (Case Number 16-03587 pending in the Bankruptcy Court, the "Golden
Marina Case" and, along with the Larry Case and the Fromelius LLC Case, the
"Bankruptcy Cases") and pursuant to sections 1107 and 1108 of the Bankruptcy
Code, Golden Marina remains in possession of its assets and is operating as a
debtor in possession.
      WHEREAS, each of the Debtors have filed a revised plan dated February 7,
2017, as amended Ap1·il 17, 2017 or May 12, 2017, as applicable (each a "Revised
Plan," collectively, the "Revised Plans").
      WHEREAS, the Debtors and EGI, on the one hand, and the Ann Marie Barry
Trust dated March 24, 2003, by and through First Midwest Banl~ as Successor
Trustee (the "Barry Trust"), on the other hand, entered into a settlement
agreement to resolve the disputes among the Debtors, EGI, and the Barry Trust
and on April 25, 2017, the Debtors filed motions under Rule 9019 for the entry of
orders authorizing them to enter into the Settlement Agreement with the Barry
Trust (the "Barry Trust Settlements").



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        WHEREAS, on May 26, 2017, Cliffs filed against EGI an involuntary petition
for relief under chapter 7 of the Bankruptcy Code (Case No. 17-16364 pending in
the Bankruptcy Court, the "Involuntary Petition"), and EGI then filed a motion to
dismiss the Involuntary Petition, and the Barry Trust filed a motion to intervene,
which motions are pending before the Bankruptcy Court, along with Cliffs' motion
for the appointment of an interim trustee (the "Pending EGI Motions").
      WHEREAS, Cliffs filed objections to the entry of orders confirming the
Revised Plans and to the entry of orders approving the Barry Trust Settlements,
alleging, among other things, that Cliffs holds the only claim against EGI and that
EGI, not the Barry Trust, should receive the proceeds from Golden Marina's sale of
the real estate located at 302 and 311 East Greenfield Avenue, Milwaukee,
Wisconsin (the "Golden Marina Property") in partial satisfaction of the mortgage
EGI has asserted on the Golden Marina Prope1ty, which was recorded prior to the
mortgage held by the Barry Trust on the Golden Marina Property.
       WHEREAS, in 2006, EGI and Cliffs entered into various agreements related
to the Golden Marina Property, including, among other things, an (a) Assignment of
Claims under Insurance Policies agreement dated August 31, 2006 (the "Insurance
Assignment"), pursuant to which Cliffs assigned to EGI the rights under the
insurance policies described therein, (b) Assignment of Contribution Rights
Agreement dated August 31, 2006 (the "Assignment of Contribution Rights")
pursuant to which Cliffs assigned to EGI ce1·tain cost recovery and contribution
rights against other parties, and (c) the Assignment, Assumption and
Indemnification Agreement dated August 31, 2006 (the "Indemnity Agreement"),
pursuant to which EGI agreed to indemnify and hold ha1·mless Cliffs for the matters
set forth in paragraph 2 of the Indemnity Agreement (the "Indemnified Claims").
      WHEREAS, to secure its assumption and indemnification obligations, EGI
deposited $4,500,000 in escrow (the "Escrow Account") under an escrow
agreement dated August 31, 2006 (the "Escrow Agreement" and, along with the
Insurance Assignment and the Indemnity Agi·eement, as well as any other
documents governing the relationship between EGI and Cliffs, dated as of August
31, 2006 (the "2006 Agreements).
      WHEREAS, other than the 2006 Agi·eements, Cliffs is not awai·e of any other
agreements between Cliffs and EGI that have any impact upon the matters set
forth herein or that govern the relationship between Cliffs and EGI.
      WHEREAS, EGI and Cliffs have engaged in extensive settlement discussions
related to the disputes among them and based upon such discussions have come to
an agreement, the terms of which are memorialized in this Agreement and in the
related Settlement Agreement by and among the Barry Trust, the Debtors, EGI,
and Cliffs entered into substantially contempOl'aneously herewith and appended
hereto as Exhibit 1 (the "Bankruptcy Settlement Agreement:').




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                                 AGREEMENT

      NOW THEREFORE, intending to be legally bound and in consideration of
the mutual promises and covenants contained herein and other good and valuable
consideration, the receipt and sufficiency of which is hereby acknowledged, the
Parties hereby agree as follows:

       1.    Recitals. The foregoing recitals and prefatory phrases and paragraphs
are incorporated herein by reference and made part of this Agreement such that all
of the above representations or undertakings are binding on all the Parties to this
Agreement.

      2.     Releases. EGI and Cliffs hereby agree that upon the Effective Date of
this Agreement, which shall occur when this Agreement has been executed by Cliffs
and EGI and the Bankruptcy Court has entered an Order approving the
Bankruptcy Settlement Agreement, EGI and Cliffs shall be deemed to have each
mutually released, and shall thereby release, the other, as well as each of their
respective officers, employees, agents, directors, members, affiliates, successors,
assigns, and heirs, without any furthe1· action required, from:

              2.1. Any and all claims, obligations, duties, demands, liabilities,
      rights, of any nature or kind whatsoever, whether matured or unmatured,
      known or unknown, fixed or unliquidated, currently existing or hereafter
      arising, including any under the 2006 Agreements, any Indemnified Claims
      and all obligations to each othe1· arising under (i) paragTaph 7 of the
      "Closing Extension Agreement" dated August 31, 2006, (ii) the
      "Assumption of Obligations" executed by EGI on August 31, 2006, and (iii)
      the "Assignment, Assumption and Indemnification Agreement dated
      August 31, 2006, including in particular those arising under paragraph 1 and
      2 the1·eof; and all other obligations which have arisen or may arise with
      respect to the underlying transactions reflected in those agreements and the
      2006 Agreements (the "Released Claims");

             2.2. Notwithstanding anything in this§ 2 to the contrru·y, the
      obligations of EGI released herein shall survive and continue solely on a non-
      recourse basis, and only to the extent of any assets at any time held in the
      Escrow Account, which obligations shall continue to be secured by the EscTow
      Account, and Cliffs (a) shall have recourse with respect to such obligations
      only to the extent of assets at any time held in the Escrow Account as
      provided herein and in the Escrow Agreement and (b) covenants not to sue,
      and will not sue, EGI, Golden Marina or any of their 1·espective affiliates,
      including Larry, on account of or in any way related to the Released Claims.
      Further, Cliffs shall retain the right to use, or draw upon the (a) funds
      contained in the Escrow Account and (b) any proceeds recovered under any

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     insm·ance policies (the "Policies") presently in existence covering EGI,
     Golden Marina, Cliffs or any of its affiliates that may relate to the
     Indemnified Claims, the Golden Marina Property or Cliffs or Golden Marina's
     status as a potentially responsible party ("PRP') relating to the Golden
     Marina Property (together, "Cliffs, Environmental Remediation
      Obligations").
            2.3. Notwithstanding anything in this§ 2 to the contrary, the Parties
     are not released or discharged from any of the obligations specifically created
     by this Settlement Agreement and the Bankruptcy Settlement Agreement, it
     being the intent of this provision to eliminate any and all obligations between
     the Parties other than those a1·ising under this Agreement and the
     Bankruptcy Settlement Agreement.

      3.      Insurance, Contribution Rights, and Use of Proceeds.
             3.1. EGI and Cliffs acknowledge and agree that (i) the Assignment of
     Contribution Rights and (ii) the Insm·ance Assignment are rescinded by
     mutual agreement, are void retrnactive to the date of execution and none of
     the rights or obligations arising out of such agreements survive the execution
     of this Agreement, and thus all contribution rights and, subject to paragraphs
     3.2 and 3.3, below, all rights with respect to insurance claims, belong solely to
     Cliffs.

            3.2. EGI and Cliffs agree that Cliffs will use commercially
     reasonable efforts to pursue diligently recovery on any Policies. EGI retains
     the right to request on a reasonable basis updates from Cliffs regarding the
     status of recovery on the Policies and Cliffs shall timely respond to such
     requests, as well as inform EGI of any material change in the status of its
     recovery efforts on the Policies.

            3.3. EGI and Cliffs agree that to the extent any of the proceeds of
     any of the Policies directly discharge any of the Indemnified Claims or Cliffs'
     Environmental Remediation Obligations or reimburse Cliffs for any payment
     or discharge of such liabilities, such proceeds shall belong to Cliffs. Cliffs
     shall apply the Policy proceeds it receives, or cause others under its direction
     to apply such proceeds, as follows:

                      3.3.1. First, to pay any legal fees and expenses of counsel
              retained to recover any proceeds under the Policies and/or to reimburse
              Cliffs for reasonable fees incurred in responding to requests for
              accounting pm·suant to § 3.4 below;

                    3.3.2. Second, deposit into the Escrow Account to be disbm·sed
              as provided in the Escrow Agreement as amended below; and


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                      3.3.3. Third and finally, upon the termination of the Escrow
               Agreement, Cliffs shall direct all remaining Policy proceeds, and shall
               also direct all amounts remaining in the Escrow Account, to be
               disbursed to EGI, which shall in turn disburse such funds to Larry
               Fromelius and/or the Barry Trust for application as provided in the
               Bankruptcy Settlement Agreement, the BruTy Trust Settlements and
               the Revised Plans, as confirmed by the Confirmation Orders.
               Notwithstanding anything contained herein, in, and only in, the event
               that Cliffs obtains a total recovery of proceeds from the Policies in
               excess of Seven and a Half Million Dolla1·s ($7,500,000.00), upon
               receipt of such proceeds in the Escrow Account, Cliffs shall direct the
               Escrow Agent to disburse a one-time payment (separate from any
               disbursement that may be payable upon termination of the Escrow
             . Account) in the amount of Two Hundred Thousand Dollars
               ($200,000.00) from the Escrow Account to EGI, which shall in turn
               disburse such funds to Larry Fromelius and/or the Barry Trust for
               application as provided in the Bankruptcy Settlement Agreement, the
               Barry Trust Settlements and the Revised Plans, as confirmed by the
               Confirmation Orders.

            3.4. EGI has the right to an accounting of the use of any recovered
      proceeds of the Policies and Cliffs shall provide such an accounting not later
      than 30 days after receipt of such a request.

      4.       Joint Defense Agreement.
EGI hereby assigns and transfers to Cliffs and Cliffs hereby assumes and accepts
without recourse all rights, liabilities, obligations, title and interests EGI may have
under (i) the Solvay Site RI/FS Trust Agreement u/a March 30, 2007 and (ii) the
Former Milwaukee Solvay Coke & Gas Site Confidential Joint Participation and
Defense Agreement - RI/FS dated November 2006 (the "Joint Defense
Agreement"). In particular, EGI assigns all of its rights to vote as a member under
the Joint Defense Agreement. Cliffs shall use all commercially reasonable efforts
and take all reasonable actions to relieve EGI of any further obligations under the
Joint Defense Agreement.

        5.    Financial Assurances Account Refund. If any funds or property
transferred to the Financial Assurances Account by or for the benefit of EGI or
Cliffs is refunded to Cliffs or EGI, such amounts shall be deposited into the Escrow
Account and be subject to the Escrow Agreement, as amended by this Agreement.
Cliffs shall notify EGI of any such refunds within 30 days after it first learns of the
refund.

      6.    Escrow Agreement. EGI and Cliffs hereby agree that, upon the
written consent of Chicago Title in its capacity as a party thereto, the Escrow


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Agreement dated August 31, 2006 and entered into by EGI, Cliffs and Chicago Title
is hereby amended as follows:

            6.1. The purpose of the Escrow Agreement as expressed in
      paragraph (f)(i) of Section 1 of the Escrow Agreement shall continue and,
      subject to the amendments set forth below, payments shall be made from the
      funds held in escrow thereunder only as provided for therein.

            6.2. The provisions of Section 3 of the Escrow Agreement are hereby
      revoked and deleted. In lieu of those provisions there is hereby substituted a
      new Section 3 attached hereto as Exhibit A:
             6.3    Section 8(a) is hereby amended to remove the termination of the
      Esc1·ow Agreement upon the exhaustion of the funds held in the Escrow
      Account to preserve the Escrow Account to receive proceeds recovered under
      the Policies. The termination of the Escrow Agreement and the Escrow
      Account continues to be subject to the remaining provisions of Section 8 of the
      Escrow Agreement.
            6.4   The Parties agree that neither this Agreement nor the Escrow
      Agreement shall be amended or revised in the future in any way that affects
      the Barry Trust's rights, treatment, distributions or recovery under the
      Bankruptcy Settlement Agreement, the Barry Trust Settlements, or the
      Revised Plans as confirmed by the Confirmation Orders without the prior
      written consent of the Barry Trust, which shall not be unreasonably
      withheld.

       7.    Notices. Any and all notices and other communications required or
permitted hereunder shall be in writing and shall be delivered in person, sent by
email to addresses provided below, sent via facsimile to the numbers shown below,
or sent by registered or certified mail, return receipt requested and postage prepaid,
to the addresses indicated below.

               EGI:              East Greenfield Investors, LLC
                                 5611 Walnut Avenue
                                 Downers Grove, IL 60516
                                 Email: l.fromelius.comcast.net and
                                 jenn.meier@comcast.net

               Cliffs:           Cliffs Mining Company
                                 c/o Cleveland-Cliffs Inc.
                                 200 Public Square, Suite 3300
                                 Cleveland, OH 44114-2315
                                 Facsimile: (216) 694-5385
                                 Email: Rob.Beranek@clevelandcliffs.com



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               [Chicago Title]:   Chicago Title Insm·ance Company
                                  20900 Swenson Drive, Suite 900
                                  VVaukesha, VVI53186


Notices mailed as provided herein shall be deemed given on the date of their deposit
in the United States mail. Notices sent via email or facsimile transmission as
provided herein shall be deemed given upon their successful transmission. All other
notices shall be deemed given when received. Any party may change the name,
address and/or number to which notices thereto should be sent he1·eunder by giving
notice of such change to the other parties hereto in accordance with the provisions
of this paragraph. Notices to the Barry Trust hereunder shall be given as provided
in the Bankruptcy Settlement Agreement.

       8.    Further Assurance. Each of the Parties hereto hereby agi·ees to
execute and deliver such documents and to take such other actions at any time and
from time to time hereunder as may be reasonably requested by any other party
hereto carry out the provisions or purposes of this Agreement.

        9.    Successors. This Agrnement shall be binding upon, and inure to the
benefit of, the Parties hereto and their respective successors, heirs and assigns. No
party may assign any of such party's rights or obligations under this Agreement
without the prior written consent of the other Parties which consent shall not be
unreasonably withheld. This Agreement shall not confe1· any rights or remedies
upon any third-party beneficiary or other person other than the parties, except for
the i·ights expressly set forth herein preserved for the Barry Trust with all
attendant rights and remedies.

       10.   Severability. In the event that any provision of this Agi·eement is
finally determined to be illegal, invalid or unenforceable, either in all jurisdictions
and circumstances or in particular jUl·isdictions and circumstances, such provision
shall be deemed severed herefrom in those jurisdictions and circumstances as to
which it has been so determined to be illegal, invalid or unenforceable, and such
severance shall not affect the legality, validity or enforceability of any other
provisions hereof or of the severed provision in other jurisdictions and
circumstances as to which it has not been so determined to be illegal, invalid or
unenforceable.

      11.   Governing Law. This Agreement shall be governed by, and
construed and enforced in accordance with, the internal laws of the State of
VVisconsin.




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       12.     Interpretation. The headings in this Agreement are intended for
convenience only, and shall not affect the meaning or interpretation hereof. In
interpreting this agreement, whenever the context so permits, (i) the singular shall
include the plural and the plural shall include the singular, and (ii) any gender
shall include all genders. This Agreement shall be treated as having been drafted
jointly by all of the parties, and no rule of construction 01· other presumption shall
arise by reason of authorship of any of the provisions hereof. In the event of any
inconsistency between this Agreement and the provisions of the Bankruptcy
Settlement Agrnement, the provisions of the Bankruptcy Settlement Agreement
shall control.

       13.    Counterparts. This Agreement may be executed in two .(2) or more
counterparts, each of which shall be deemed an OTiginal and all of which together
shall constitute one and the same instrument. Executed counterparts may be
evidenced by delivery of the signature page by fax or email.

      14.    Expenses. Each of the Pa1·ties shall bear all of its own costs and
expenses (including attorneys' fees) in connection with this Agreement and the
transactions contemplated herein.

       15.   Waiver. No failure or delay on the part of any Party in the exercise 01·
enforcement of any of its rights under any provision hereof shall be deemed to be a
waiver of such rights or of said provision in the absence of a written waiver signed
by said party.

       16.   Amendment. This Agreement may be amended by, and only by, a
written instrument signed by all of the Parties, and upon notice to, and if required
by the other terms of this Agreement, the written agTeement of the Barry Trust
Trustee.

      17.    Integration. This Agreement contains the entire agreement of the
Parties hereto with respect to the subject matter hereof, and supersedes any and all
written or oral negotiations, warranties, representations, agreements or other
understandings in regard thereto.

       18.    Section Titles. The section titles contained in this Agreement a1·e and
shall be without substantive meaning or content of any kind whatsoever and are not
a part of the agreement between the Parties hereto.

       In witness whereof, the undersigned have executed this agreement as of this
31st day of August 201 7 intending to be legally bound.




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East Greenfield Investors, LLC,            Cliffs Mining Company

By: _ _ _ __ _ _ _ _ __                    By: (/~D~
  Lawrence D. Fromelius                    Its: EvP,c,h;~ L5\ oW:ter- C~f~
  Sole member and manage1·

Chicago Title Insurance Company

By: _ _ _ _ _ _ _ _ _ __

  Its - - - - - - - - - -


Acknowledged:

Ann Marie Barry Trust dated March 24, 2003,
by and through First Midwest Bank as Successor Trustee

By: _ _ _ _ _ _ _ _ _ _ _ __




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                                    EXHIBIT A
                                      Section 3.
                          Disbursement of Escrow Account
       (a) Prior to the completion of the requirements of the RI/FS settlement
agreement, the only permissible disbursements shall be to (i) the Escrow Agent in
payment of its fees and charges hereunder, (ii) providers of services performing the
requirements of the RI/FS settlement agreement and/or order and the work plan
approved by the EPA for the performance of the RI/FS ("RI/FS Se1·vices") in
payment for the performance of those services, (iii) providers of services performing
remedial activities requfred or otherwise approved or authorized by EPA in
payment for the performance of such services, (iv) payments to EPA of costs,
including but not limited to any interest thereon, and monetary penalties, under the
terms of any EPA or Wisconsin Department of Natural Resources settlement
agreement or order; and (v) payments to any trust or escrow account established
under and pursuant to the requirements of any group participation agreement
entered into by East Greenfield with other potentially responsible parties relating
to the RI/FS or to any remedial activities to be performed pursuant to any future
settlement agreement with or order issued by the EPA relating to the remediation
of the property. All such disbursements fm RI/FS Sei·vices and remedial action
services shall be in the amount of the percentage allocation attributable to Cliffs to
the extent othe1· potentially responsible parties have agreed with Cliffs in writing
upon a cost allocation, and, in the event no such allocation is agi·eed upon or one or
more of the other potentially rnsponsible parties fails or refuse for whatever i·eason
to pay its agreed upon pe1·centage allocation of the costs incurred for RI/FS Services
or remedial action, in such amounts as are required to complete performance of the
RI/FS and such remedial action or other activities as agi·eed to or ordered by EPA or
the Wisconsin Department of Natm·al Resources.
      (b) After the completion of the requirements of the RI/FS settlement
agreement, additional amounts may be paid from the escrowed funds, but only for
the payment or reimbursement of liabilities and expenses of Cliffs that had been
assumed by East Greenfield under Paragraph 4 of the Transfer Agreement and the
Closing Documents or would constitute performance of the indemnity obligations
that East Greenfield had undertaken as set forth in Paragi·aph 5 of the Transfer
Agreement and the Closing Documents.
       (c) Cliffs shall initiate the request for each expenditure meeting the
requirements of subsection (a) or (b) by written notice to the Escrow Agent. Cliffs
shall also give EGI prompt notice of any such request.        Upon receipt of Cliffs'
request for payment, the Escrow Agent shall promptly pay the requested funds as
set forth in any request by Cliffs. EGI may initiate an objection to the expenditure,
but only by giving written notice to Cliffs within thirty (30) days after notice from
Cliffs of such request. However, no objection by EGI shall affect the obligation of
the Escow Agent. to make propmpt payment pursuant to Cliffs' request for payment,


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nor shall EGI hinder or dely such payment. If Cliffs does not, within thirty (30) days
of such objection restore the amount of such expenditure to the escrow, EGI may
commence an arbitration within thirty (30) days after the expriration of the period
in which Cliffs may restore the expenditure to the escrow fund. Any arbitration
under this subparagraph (c) shall be administered by JAMS pursuant to its
Streamlined Arbitration Rules and Prncedures. Arbitration shall be the sole
remedy of EGI hereunder; provided that this clause shall not preclude parties from
seeking provisional remedies in aid of arbitration from a court of appropriate
jurisdiction. The arbitration awa1·d shall determine only whether the expenditure
in question is consistent with the provisons of (a) or (b), above, provided that the
arbitrator shall also, in the award, require that all of the costs of the arbitration,
including the fees of the arbitrat01· and the reasonable attorneys' fees of the
prevailing party be paid by the non-prevailing party. If the arbitation determines
that the expenditure in question is not consistent with the provisions of (a) or (b)
above, Cliffs shall be obligated to p1·omptly restore the amount of the expenditure in
question to the escrow fund. The award rendered by the arbitrator(s) shall be final
and binding on all parties and may be entered and enforced by any court of
competent jurisdiction.




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